Case 1-19-42447-ess Doc 1 Filed 04/25/19 Entered OA¢Z§HA@ 10:13:52
U S BANKRUPTCY COURT

OF NEW YORK
ERWN D: S:F\C_i:
§§§ §§§§ §§

l United Staies Bankruptcy Court for the:

128-a S!@f'l'\ mismath NQUO Yl)[;

(State)
Case number (//known); _ Chapter l l

 

l:l Check if this is an
amended filing

 

Officia| Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy 04/19

|f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (lf known). For more information, a separate document, instructions for Bankruptcy Forms for Non-Individuals, is available.

 

1. Debtor’s name A"""‘ an+\ 0 val/ag Ptamr (/L/C/

2. A|l other names debtor used ‘A'+l M+‘ a g o C\ a/'

in the last 8 years

 

 

include any assumed names,
trade names, and doing business
as names

 

 

 

3. Debtorv'“sq“federalEmployer ita __L£ \ 111 w q

identification Number (ElN) ______

 

 

 

 

 

ioi:’) A+lantie Avenwz/ §%l@ Pavla Nemw, 5
l§ym\dyr\ l;{)' gilligan N§W we win zipg°yeb;

Location of principal assets, if different from

K{ nj$ (/`01{ n`('/V principal place Of business

Couni.y

 

Number Street

 

 

Clty Staie ZlP Code

5. Debtor's website (uRl_) i/\W\]V\] . M`HQ(\'HC §OM@` bL.CCW\

 

 

 

M Corporation (including Limited Liability Company (LLC) and Limited l_iability Partnership (LLP))
Cl Pannership excluding LLP)
m Other. Specify:

s. Type of debtor

 

 

 

Ofi"lcial Form 201 Voluntary Petition for Non-lndivldua|s Filing for Bankruptcy page 1

 

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Narne

Debtor M`ar\-\S\C, V'G, m`S P lam l/(/C Case number (rlkmwn>

7. Describe debtor’s business

A. Check one:
l;l i-lealth Care Business (as denned in 11 U.S.C. § 101(27A))
i;\ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
U Railroad (as defined in 11 U.S.C. § 101(44))
m Stockbroker (as defined in 11 U.S.C. § 101(53A))
m Commodity Broker (as defined in 11 U.S.C. § 101(6))
ill clearing Bank (as defined in 11 u.s.c. § 781(3))

None of the above

B. Check all that apply:

C] Tax-exempt entity (as described in 26 U.S.C. § 501)

n investment company, including hedge fund or pooled investment vehicle (as dehned in 15 U.S.C.
§ 803-3)

a investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American industry Classification System) 4~digit code that best describes debtor. See
http_:/lwww.uscourts.govlfour~digit~nationat~association-naics»codes .

li¢l€)_

 

 

et Under which chapter of the
Bankruptcy Code is the
debtor filing?

Check one.'

C] Chapter 7
C] Chapter 9
$¢Chapter 11. Check all that apply.

n Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or afhliates) are less than $2,725,625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

n The debtor is a small business debtor as defined in 11 U,S.C. § 101(51D). lfthe
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Cl A plan is being med with this petition

n Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

n The debtor is required to h|e periodic reports (for example, 10K and 1OQ) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934, File the Attachment to Voluntary Petition for Non-lndividuals Fi/ing
for Bankruptcy under Chapter 11 (Ofiicial Form 201A) with this form.

n The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

 

12b-2.
a Chapter 12
9. Were prior bankruptcy cases VNC
filed by or against the debtor
Within the \ast 8 year$? n YeS. District When Case number
MM/ DD/YYYY

lf more than 2 cases, attach a _ _
Separate list Dlstrlct When Case number

MM/ DD/YYYY

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List ali cases lf more than 1,
attach a separate list.

thcial Form 201

 

C]No

w Yes. Debtor BM Emc€ 'P)am l/LC» Re|aiionship M'{»ibi \r`at£.»
Distn‘ct ~Qa;-§|Lern When 05 gi ao\q

MM l DD YY¥V
Case number, ifknown /_, g “ il w l b d es ~S

 

 

 

 

Voluntary Petition for Non-|ndividuals Flling for Bankruptcy page 2

 

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Debtor £r§:\,[ qn'f` C¢ \ia¢kd`$ D(&M l/(/C/ Case number li/knowm

 

11. Why is the case filed irl this Check all that apply.~

district?

w Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part ot such 180 days than in any other
district

g A bankruptcy case concerning debtor’s aft'i|iate, general partner, or partnership is pending in this district

 

12. Does the debtor own or have g No
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Check all that appiy.)
attention?

n Yes. Answer below for each property that needs immediate attention Attach additional sheets if needed.

n lt poses or is alleged to pose a threat of imminent and identitiab|e hazard to public health or safety.
What is the hazard?

 

L:l lt needs to be physically secured or protected from the weather.

n it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

n Other

 

Where is the property?

 

Number Street

 

 

Clty State ZlP Code

ls the property insured?
n No

n Yes. insurance agency

 

Contact name

 

Phone

 

- Statistical and administrative information

13. Debtor’s estimation of Check one:

ava'lable funds n Funds will be available for distribution to unsecured creditors

After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors

 

 

 

_ 12|)149 Cl 1,000-5,000 Ci 25,001-50,000
14‘ Estg!‘ated number °f Cl 50-99 L'.i 5,001-10,000 EJ 50,001_100,000
ore 't°rs Cl 100-199 C] 10.001-25,000 Cl iviore man 100,000
Ci 200-999
_ Ei $0-350,000 Cl $1,000,001-310 million El $500,000,001-31 billion
15' Est'mated assets Cl $50,001-$100.000 Cl $10,000,001-$50 million Cl $1,000,000,001_$10 billion
Ci 3100,001~$500,000 CJ $50,000,001-$100 million El $10,000,000,001-$50 billion
E| 3500,001-$1 million Ci 3100,000,001-3500 million Ei Moro than 350 billion

Of'ficial Form 201 Voluntary Petition for Non-|ndividua|s Fi|ing for Bankruptcy page 3

 

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Debtor NamAe,\‘\a“-F\C' yards v (AU me Case number ii/l<nowm

_ _ __ _ iii so-$so,ouo @/si,ouo,ooi»sio million E] 3500,000,001-31 billion
‘5' Est'mated "ab""'e$ Ei 550,001-$100,000 Cl $10,000,001-$50 million Ei 31,000,000,001-$10 billion
ill $100,001~$500,000 Ci $50,000,001-$100 million Ei 310,000,000`001-$50 billion
Ei $500,001-$1 million El $100,000,001_$500 million Ci lvioro than $50 billion

 

- Request for Relief, Deciaration, and Signatures

WARN|NG - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in nnes up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341. 1519, and 3571.

17- Dec|ar_ati°n and Sig"atfl"e of n The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

 
 

 

 

 

 

 

 

 

 

 

 

 

debtor petition.
a l have been authorized to Hle this petition on behalf of the debtor.
w l have examined the information in this petition and have a reasonable belief that the information is true and
correct
l declare under penalty of perj ry that the foregoing is true and correct.
Executed on ig q 0 \’q
k L
X v”`§ii\\i C)\O(`®i@§ \`/Q'Z\'"€/)(@§
Signature of auth¥rized representative of debtor Printed name L)
Tiile Wm\>€f
ia. Si nature of attorne
g y x Date
Signature of attorney for debtor MM I DD / YY¥¥
Pl’il'lf€d flame
Firm name
Number Sfi`ee't
City State ZlP Code
Contact phone Email address
Bar number Siate

 

Offlcial Form 201 Voluntary Petition for Non-|ndividuals Filing for Bankniptcy page 4

 

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UNITED STATES BANKRUPTCY COURT

 

 

DISTR_[CT OF NEW YORK
x
m li+lm\ti c \larvl$ mut LLC Chaptem
dba¢ pi+lm"\'i`l C SDO{q/\ Case No.:
Debtor.
C__ORPORATE RESOLUTION

1 P§_i z :! § itc
I, § ‘OC \ Q"`E§`B/!ember of ` ` Whe above captioned Limited Liability

Company, do hereby certify that the following resolution was unanimously adopted on § l 15 l §§ :

“RESOLVED, that by reason of the Limited Liability Corporation being unable to pay its debts as
they mature, it is deemed expedient, necessary and in the best interests of the Limited Liability Cornpany,
its members and its creditors, that the Limited Liability Company seek relief under Title ll of the United
States Code from such circumstance and condition, and that the Limited Liability Company, acting by a
Member of the Debtor, is hereby authorized, empowered and directed, subject to the provisions of the
Limited Liability Company to institute a proceeding pursuant to Title 11, United States Code (Chapter ll
of the Bankruptcy Code).

IN WITNESS WHEREOF, I have hereunto set my hand and seal of the Limited Liability Cornpany

tws__nt.oli `\ §l_C-\ tilt

By:

\

Sworn to before mett ’S y WX
Qs'“‘”i’\day of win etmf al

initng g

Notary Public, State of N€W York 11111

PtYUSH & $ONI
Notary Fublic. State of blow York
No. 01506038647
Quatified in Kinge County
Commission Expires litercn 2f1 2922

 

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UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF NEW YORK
IM' A+lan+i¢ \lards Pwtza, ccc X Chapte…
QUWL P(-{»l(m;i'\c_ SDC`la/i CaseNo.:
Debtor.

 

X

CORPORATE OWNERSHIP AND
CORPORATE DISCLOSURE STATEMENT

Pursuant to Federal Rules of Banl<ruptcy Procedure §§ 1007(a)(l) and 7007.l(a) and
E.D.N.Y. LBR l073-3, there is no corporate entity to disclose which owns lO% or more of any
class of equity interests of the Debtor.

Dated: L{\'l§\\°\

\J

Byr \\Q@N®L

g\arv`§\ ss \)\M>®
twa

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UNITED STATES BANKRUPTCY C()URT
EASTERN DISTRICT OF NEW YORK
www.nycb.uscourts.gov

STATEIV[ENT PURSUANT T() LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(s)=Pt'l‘l(ll'l`lj`ic \ldeS Vla'lo~ l/L/C/ CASENo.=

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning

Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-l and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are aftiliates, as defined in ll U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under ll U.S.C. § 54l(a).]

NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY 'I`IME.
THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

CASE NO.: `- §©\ n \)\\C\\g `§_)x JUDGE: g\wN\G\J DISTRICT/DIVISION: £BS§§_‘§(V\ Ol' § j

CASE PEND!NG: (YES/NO): QQ$ [[fclosed] Date of Closing:

CURRENT STATUS OF RELATED CASE: §_,Q{\§\;(\~Q§\
(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

 

 

0
MANNER lN WHICH CASES ARE RELATED: (Re]%l‘ 10 NOTE above): (;\f l l

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART l (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART l” WHICH WAS ALSO LISTED lN SCHEDULE “A/B” OF
RELATED CASES:

 

SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B - NON-IND!VIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

 

CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): |[fclosea] Date of Closing:

 

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Re]?£)' to NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART l (REAL PROPERTY):

REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART l” WHICH WAS ALSO LISTED lN SCHEDULE “A/B” OF
RELATED CASES:

 

SCHEDULE A/B: ASSETS ~ REAL PROPERTY "OFFICIAL FORM 206A/B - NON-»INDIVH)UAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED lN DEBTOR’S SCHEDULE “A/B - PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

 

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[ovEm
DISCLOSURE OF RELATED CASES (cont’d)

CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDlNG: (YES/NO): []fclosed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, ete.

 

MANNER IN WHICH CASES ARE RELATED: (Refe)‘ 10 NOTE above):

 

SCHEDULE A/B: PROPERTY "OFF[ClAL FORM 106A/B - INDIVIDUAL” PART l (REAL PROPERTY):
REAL PROPERTY AS LISTED lN DEBTOR’S SCHEDULE “A/B - PART l” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART 9” WHICH WAS ALSO LISTED IN
SCH'EDULE “A/B” OF RELA'I`ED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as

indicated elsewhere on this form.

Signature of Debtor’s Attorney Signature oil'Pro-se Debtor/Petitioner g;qrj\"gg \/f,qv`g[g}

llQO QN\L lien §eu¥\~ ablle

Maning Address of Debtor/Pemioner `

build \l“\ mg

City, State, Zip Code

monmw\u>x §§ €qtd\e\llts. lou
Email Address 3 " ‘l
'LL\\~ §'ll ~ QU)§

Area Code and Telephone Number

 

 

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073~2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

ln re; Case No.
Chapter \\

Debtor(s)
-~ --- x

 

 

DECLARATION OF PRO SE DEBTOR(S)

All individuals filing for bankruptcy pro se (without an attorney), must provide the following information:

Name of Debtor(s): R\\u»\\\( \i\(\f§§ 9\01,% \`.\/&,
Addr@SS: bit N\el\\ic lied howe .\ Q\Ccdln\\l\ i \\\}\
Email Address: Mem%€lmbd @ C>%v\\r\o\lt\`\mdg \`tvow\

PhoneNumber: ( L(~ll`l l Ll§§ `l§\g

CHECK THE APPROPRIATE RESPONSES:

FILINQ FEE:
___ PAID THE FILING FEE IN FULL

MAPPLIED FOR INSTALLMENT PAYMENTS OR WAIVER OF THE FILING FEE
PREVIOUS CASES FILED: l. 2. 3.
ASSISTANCE WITH PAPERWORK:

`_\[_ NO ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES
w HAD ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES

lf Debtor had assistance, the following information must be completed:

Narne of individual who assisted:

 

 

 

Address:
Phone Number: ( )
Arnount Paid for Assistance: $

l/We hereby declare the information above under the penalty of perjury.

Dat d: ul 35 \ QM\% (
6 Debtor’s Sigvnatur/e @§0 ins \J\qm@~§ b$ \§L?)\“\\d€( 06
tr n tea aaa us

 

Joint Debtor’s Signature

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United States Bankruptcy Court
Eastern District of New York

Inre 'iq+lan”i,{(/ wards `Plam LLC diva H”Ha}’\'i'l(, SD(;l‘.a/lCasel\lov

Debtor(s) Chapter l l

 

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) or attomey for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge

Date &i\x<\\a w ibwa RV/QM\\DW

blol"§`~° § \)vl.r $t.><'e~§

Signer/'l itle

Date:

 

 

Signature of Attorney

US BC-44 Rcv. 9117!‘)8

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Ace Endico Food SVC
80 lnternational Blvd
Brewster§ NY 10509

American Express National Bank
PO Box 303 84
Salt Lake City, UT 84130

Ecolab
PO Box 32027
New York,. NY 10087

Chase
PO Box 6294
Carol Stream, IL 60197

Manhattan Beer Distribution
PO Box 27458
New York, NY 10087

NCR Corporation
PO Box 19875 5
Atlantia§ GA 3038/l

Southern Glazer’s Wine & Spirits of NY
PO BOX 3143
Hicksville, NY 11802

Empire Merchant, LLC
16 Bridgewater Street
Brooklyn, NY 11222

St. Johns Produce
PO BoX 34
Albertson, BY 11507

NewBank
146-01 Northern Blvd
Flushing, NY 11354

Verizon
PO Box 15124
Albany, NY 12212

Union Beer Distributors
1213-17 Grand Street
Brooklyn, NY 11211

Skurnik Wines
PO Box 1315
Syosset, NY 11791

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NYS Dept of Tax & Finance
PO Box 4127
Binghamton, NY 13902

NYS Dept ot`Labor
PO Box 4127
Binghamton, NY 13902

Tri State Carbonation
216 E. Broadway #2
Monticello, NY 12701

NUC()2 LLC
PO Box 417902
Boston, MA 02241

RJ Linen & Uniforms
305 N. Macquesten Pkwy.
l\/lt. Vernonp NY 10550

Open Table
l Montgomery Street, Suite 700
San Francisco_, CA 94104

HotSchedules
6504 Bridge Point Pkwy
Austin, TX, 78730

Rivkin Radler
926 RXR Plaza
Uniondale, NY 11556-0926

Noble Management Group
228 Park Avenue, South #48897
New York, NY 10003

Quality Star Developrnent
228 Park Avenue, South #48897
New York, NY 10003

Steve Menexas
301 Vanderbilt Parkway
Dix Hills, NY 11746

Giorgios Menexas
4 Elm Sea Lane
Manhasset, NY 11030

Atlantic Terrace 12, LLC
621 Degraw Street
Brooklyn, NY 11217

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ConEdison
Jaf Station, P.O. Box 1702
New York, NY 10116

National Grid
P.O. Box 11741
Newark, NJ 07101-4741

Bolster l\/Iedia NYC
330 East 54th Street # 2D
New York, NY 10022

Riviera Produce
Box/Call # 6065
Englewood, NY 07631

Asian Bok Choy Inc
612 Grand Street
Chinatown, NY 11211

Action Environmental Services
451 Frelinghuysen Ave
Newark, NJ 071 14

Stanley Steamer International Inc
PO Box 205 819
Dallas, TX 75320

NYC Refrigeration Mechanic Corp
2357 31st Street
Astoria, NY 11105

The Sarn Tell Companies
300 Srnith Street, Farrningdale
New York 11735

Coca-Cola Refreshrnents USA, Inc.
PO Box 4108
BOSTON MA 02211

AMS
P.O. BoX 540
Fair Lawn§ New Jersey 07410

Joseph, Mann & Creed
8948 Canyon Falls Blvd., Suite 200
Twinsburg, OH 44087

Force
5 Liszka Lane
Sayreville, NJ 08872

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L. Knife & Son, Inc.
35 Elder Avenue Extension
Kingston, MA 023 64

New York Wine and Spirits
10 Dunnigan Drive
Suffern, NY 10901

AlWin Inc DBA Hotpoint App
5160 Van Nuys Blvd # 250
Sherman Oaks, CA 91403

CMI Services, Corpi
240 Crossbay Boulevard
New York, Broad Channel, NY 11693

Stern Environrnental Group, LLC

30 Seaview Drive
Secaucus, NK 07094

Oft`ice of the United States Tnistee
Eastern District of NY (Brooklyn Office)
U.S. Federal Oftice Building

201 Varick Street, Suite 1006

New York, NY 10014-9449

Internal Revenue Service

P.O. Box 7346
Philadelphia, PA 19101-7346

